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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA Case Number: 8:23-cr-360-TPB-AAS
v. USM Number: 84874-510
LESLIE STEELE BRYANT Nicole Hardin, AFPD

JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Count One of the Information. Defendant is adjudicated guilty of the
following offense:

Date Offense Count
Title & Section Nature of Offense Concluded Number
18 U.S.C. §§ 1343 and Conspiracy to Commit Wire Fraud August 2019 One

1349

Defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
Defendant shall notify the Court and United States Attorney of any material change in Defendant’s
economic circumstances.

Date of Imposition of Sentence: March 28, 2024

1s

TOM BARBER
UNITED STATES DISTRICT JUDGE

Signed: March 2 ©, 2024

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IMPRISONMENT

Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of ONE (1) YEAR and (1) DAY.

The Court makes the following recommendations to the Bureau of Prisons:
1. Incarceration at facility near Tampa, Florida, to be close to family.

Defendant is allowed to self-surrender by noon on April 12, 2024, at the institution designated by
the Bureau of Prisons or to the U.S. Marshal if designation is not received.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

UNITED STATES MARSHAL

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, Defendant will be on supervised release for a total
term of THREE (3) YEARS.

MANDATORY CONDITIONS

—

Defendant shall not commit another federal, state or local crime.

2. Defendant shall not unlawfully possess a controlled substance.

Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court.

4. Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

~

Defendant shall comply with the standard conditions that have been adopted by this court
(set forth below).

Defendant shall also comply with the additional conditions on the attached page.
STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, Defendant shall comply with the following standard conditions
of supervision. These conditions are imposed because they establish the basic expectations for your
behavior while on supervision and identify the minimum tools needed by Probation Officers to keep
informed, report to the court about, and bring about improvements in your conduct and condition.

1. Defendant shall report to the Probation Office in the federal judicial district where you are
authorized to reside within 72 hours of your release from imprisonment, unless the Probation
Officer instructs you to report to a different Probation Office or within a different time frame.
After initially reporting to the Probation Office, Defendant will receive instructions from the
court or the Probation Officer about how and when Defendant must report to the Probation
Officer, and Defendant must report to the Probation Officer as instructed.

2. After initially reporting to the Probation Office, you will receive instructions from the court
or the Probation Officer about how and when Defendant shall report to the Probation Officer,
and Defendant shall report to the Probation Officer as instructed.

3. Defendant shall not knowingly leave the federal judicial district where you are authorized to
reside without first getting permission from the court or the Probation Officer.

4. Defendant shall answer truthfully the questions asked by your Probation Officer

5. Defendant shall live at a place approved by the Probation Officer. If you plan to change where
you live or anything about your living arrangements (such as the people you live with),
Defendant shall notify the Probation Officer at least 10 days before the change. If notifying
the Probation Officer in advance is not possible due to unanticipated circumstances,

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Defendant shall notify the Probation Officer within 72 hours of becoming aware of a change
or expected change.

6. Defendant shall allow the Probation Officer to visit you at any time at your home or
elsewhere, and Defendant shall permit the Probation Officer to take any items prohibited by
the conditions of your supervision that he or she observes in plain view.

7. Defendant shall work full time (at least 30 hours per week) at a lawful type of employment,
unless the Probation Officer excuses you from doing so. If you do not have full-time
employment Defendant shall try to find full-time employment, unless the Probation Officer
excuses you from doing so. If you plan to change where you work or anything about your
work (such as your position or your job responsibilities), Defendant shall notify the Probation
Officer at least 10 days before the change. If notifying the Probation Officer at least 10 days
in advance is not possible due to unanticipated circumstances, Defendant shall notify the
Probation Officer within 72 hours of becoming aware of a change or expected change.

8. Defendant shall not communicate or interact with someone you know is engaged in criminal
activity. If you know someone has been convicted of a felony, Defendant shall not knowingly
communicate or interact with that person without first getting the permission of the Probation
Officer.

9. If you are arrested or questioned by a law enforcement officer, Defendant shall notify the
Probation Officer within 72 hours.

10. Defendant shall not own, possess, or have access to a firearm, ammunition, destructive
device, or dangerous weapon (i.e., anything that was designed, or was modified for, the
specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

11... Defendant shall not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.

12. If the Probation Officer determines that you pose a risk to another person (including an
organization), the Probation Officer may require you to notify the person about the risk and
Defendant shall comply with that instruction. The Probation Officer may contact the person
and confirm that you have notified the person about the risk.

13. Defendant shall follow the instructions of the Probation Officer related to the conditions of
supervision.

U.S. Probation Office Use Only

A USS. Probation Officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.

Defendant’s Signature: Date:

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ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1. The defendant shall participate in a substance abuse program (outpatient and/or inpatient)
and follow the probation officer’s instructions regarding the implementation of this court
directive. Further, the defendant shall contribute to the costs of these services not to exceed
an amount determined reasonable by the Probation Office’s Sliding Scale for Substance
Abuse Treatment Services. During and upon completion of this program, the defendant is
directed to submit to random drug testing.

2. The defendant shall participate in a mental health treatment program (outpatient and/or
inpatient) and follow the probation officer’s instructions regarding the implementation of this
court directive. Further, the defendant shall contribute to the costs of these services not to
exceed an amount determined reasonable by the Probation Office’s Sliding Scale for Mental
Health Treatment Services.

3. The defendant is prohibited from incurring new credit charges, opening additional lines of
credit, or obligating herself for any major purchases without approval of the probation officer.

4. The defendant shall provide the probation officer access to any requested financial
information.

CRIMINAL MONETARY PENALTIES

Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.

Assessment Restitution Fine AVAA JVTA
Assessment* Assessment**
$100.00 $1,223 ,580.54 Waived N/A N/A

Defendant must make restitution (including community restitution) to the following payees
in the amount listed below.

If Defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specific otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid in
full prior to the United States receiving payment.

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Name of Payee Restitution Ordered

Clerk, U.S. District Court
Debt Collection Unit

401 West Central Blvd.
Suite 2100

Orlando, FL 32801

for:

Lowe’s $305,066.97
12802 Tampa Oaks Boulevard

Suite 200

Tampa, FL 33637

Synchrony Bank $918,513.57
Attn: Fraud Restitution

P.O. Box 669829

Dallas, TX 75266

TOTAL: $1,223,580.54

SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due
as follows:

Special Assessment: Shall be paid in full and is due immediately.

Restitution: The defendant shall pay restitution in the amount of $1,223,580.54. This restitution
obligation shall be payable to the Clerk, U.S. District Court, for distribution to the victims. While
in Bureau of Prisons custody, defendant shall either (1) pay at least $25 quarterly if she has a non-
Unicor job or (2) pay at least 50% of her monthly earnings if she has a Unicor job. Upon release
from custody, the defendant shall pay restitution at the rate of $100 per month. At any time
during the course of post-release supervision, the victim, the government, or the defendant may
notify the Court of a material change in the defendant’s ability to pay, and the Court may adjust
the payment schedule accordingly. The Court finds that the defendant does not have the ability to
pay interest and the Court waives the interest requirement for the restitution. The Court finds the
defendant does not have the ability to pay interest and the Court waives the interest requirement
of the restitution.

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the
Court, unless otherwise directed by the Court, the Probation Officer, or the United States attorney.

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Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community
restitution, (8) JVTA assessment, and (9) penalties, and (10) costs, including cost of prosecution and
court costs.

*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pu. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No, 114-22.
***Findings for the total amount of losses, are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses

committed on or after September 13, 1994, but before April 23, 1996.

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